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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


    NATIONAL ASSOCIATION OF SOCIAL
    WORKERS, et al.,

                  Plaintiffs,
                                                            Case No. 1:22-cv-00258-SJD
          v.
                                                            Judge Susan Dlott
    CITY OF LEBANON, OHIO, et al.,

                  Defendants.


                                  NOTICE AND STIPULATION

         To give the parties additional time to negotiate a potential settlement, the parties hereby

agree and stipulate to extend the deadlines imposed by the parties’ prior Notice and Stipulation,

ECF No. 38, as follows:

                Defendants1 agree not to knowingly initiate prosecution under or otherwise

enforce the amended ordinance, or the current Lebanon Code of Ordinances Sections 509.09(B),

with the exception of (B)(5); 509.09(D); and 509.10(C), with the exception of (C)(5), against

Plaintiffs, their employees, members, or volunteers, nor knowingly initiate any prosecution

against any person based on their providing donations to Plaintiffs or performing work for or

with Plaintiffs, until and through January 18, 2023, subject to the proviso in paragraph 2.

                Plaintiffs will have until and through January 18, 2023, to notify the Court and

opposing counsel whether they intend to renew or update their Motion for a Preliminary



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    As used in this Stipulation, “Defendants” includes both the named Defendants as well as
their officers, agents, servants, employees, and attorneys, and all those acting in concert with
them.

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Injunction or, in the Alternative, Expedited Summary Judgment, ECF No. 2. If Plaintiffs inform

the Court and opposing counsel that they will not renew or update their Motion, or if Plaintiffs

fail to provide the required notice within this window, then the new ordinance will become fully

enforceable on its effective date, notwithstanding the nonenforcement period described in

paragraph 1.

               Defendants also agree not to knowingly initiate any future prosecution under or

otherwise enforce the amended ordinance, or the current Lebanon Code of Ordinances Sections

509.09(B), with the exception of (B)(5); 509.09(D); and 509.10(C), with the exception of (C)(5),

against Plaintiffs, their employees, members, or volunteers, nor knowingly initiate any

prosecution against any person based on their providing donations to Plaintiffs or performing

work for or with Plaintiffs, based on conduct that occurs during this period of non-enforcement.

               If Plaintiffs renew or update their Motion for a Preliminary Injunction or, in the

Alternative, Expedited Summary Judgment, ECF No. 2, Defendants will file their response

within two weeks, but Plaintiffs will not oppose any request for an extension if Defendants agree

not to enforce the amended ordinance pending decision on that Motion.

               Defendants will have until and through January 18, 2023, to file their answer or

Rule 12(b) motions.

               The parties agree that this Stipulation does not entitle or allow Plaintiffs to claim

“prevailing party” status under 42 U.S.C. § 1988, or constitute a basis for an award of attorneys’

fees as a prevailing party with respect to Plaintiffs’ Motion for a Preliminary Injunction or, in the

Alternative, Expedited Summary Judgment, ECF No. 2.

Respectfully submitted,

 /s/ B. Jessie Hill                                   /s/ Jonathan F. Mitchell (with consent)
 B. Jessie Hill (0074770)                             Jonathan F. Mitchell*

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                                   CERTIFICATE OF SERVICE

        I, B. Jessie Hill, hereby certify that on this 3rd day of January, 2023, I electronically filed

the foregoing with the Clerk of Court for the United States District Court for the Southern

District of Ohio, Western Division via the ECF system, which will send notification of such

filing to all counsel of record.



                                                       /s/ B. Jessie Hill




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